Case 3:20-cv-01150-ZNQ-DEA Document 43 Filed 06/04/21 Page 1 of 1 PageID: 1526



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   Our File No. 88737 ELH

   JACKSON TRAILS, LLC, A NEW JERSEY          UNITED STATES DISTRICT COURT
   LIMITED LIABILITY CORPORATION              TRENTON
                                              CIVIL ACTION NO.: 3:20-CV-
                 Plaintiff,                   01150

   V.
                                                        Civil Action
   TOWNSHIP OF JACKSON, A NEW JERSEY
   MUNICIPAL CORPORATION AND BODY
   POLITIC; AND THE PLANNING BOARD OF         SUBSTITUTION OF ATTORNEY AND
   THE TOWNSHIP OF JACKSON, A                 DESIGNATION OF TRIAL COUNSEL
   MUNICIPAL AGENCY

                 Defendants



           The undersigned hereby consents to the substitution of

   Brent    R.   Pohlman,     Esq.    of   Mandelbaum    Salsburg,     PC,    as

   attorney for Township of Jackson and Planning Board of the

   Township      of     Jackson.       Superseding      counsel   is   hereby

   designated      as    trial     counsel.    This   designation      is    not

   expected to result in a delay of trial.


   ______________________                        /s/Brent R. Pohlman, Esq.
                                                _____________________
   Eric L. Harrison, Esq.                       Brent R. Pohlman, Esq.
   Methfessel & Werbel, PC                      Mandelbaum Salsburg, PC
   Withdrawing Attorney                         Superseding Attorney

   Dated:     May 19, 2021
